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                             15                               UNITED STATES BANKRUPTCY COURT

                             16                               NORTHERN DISTRICT OF CALIFORNIA

                             17                                       SAN FRANCISCO DIVISION

                             18
                                                                                     Bankruptcy Case No. 19-30088 (DM)
                             19
                                    In re:                                           Chapter 11
                             20                                                      (Lead Case)
                                    PG&E CORPORATION,                                (Jointly Administered)
                             21
                                             - and -                                 NOTICE OF FILING AND HEARING ON
                             22                                                      DEBTORS’ APPLICATION TO RETAIN
                                    PACIFIC GAS AND ELECTRIC                         AND EMPLOY JENNER & BLOCK LLP
                             23     COMPANY,                                         AS SPECIAL CORPORATE DEFENSE
                                                                                     COUNSEL NUNC PRO TUNC TO THE
                             24                                  Debtors.            PETITION DATE

                             25      Affects PG&E Corporation                       Date: April 24, 2019
                                     Affects Pacific Gas and Electric Company       Time: 9:30 a.m. (Pacific Time)
                             26      Affects both Debtors                           Place: United States Bankruptcy Court
                                                                                            Courtroom 17, 16th Floor
                             27     * All papers shall be filed in the Lead Case,           San Francisco, CA 94102
                                    No. 19-30088 (DM).
                             28                                                      Objection Deadline: April 17, 2019
                                                                                                         4:00 p.m. (Pacific Time)


                             Case: 19-30088        Doc# 915     Filed: 03/15/19     Entered: 03/15/19 11:18:56    Page 1 of 2
 1          PLEASE TAKE NOTICE that on January 29, 2019 (the “Petition Date”), PG&E
     Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and
 2   debtors in possession (the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11
     Cases”), each filed a voluntary petition for relief under chapter 11 of title 11 of the United States
 3   Code (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Northern District of
     California (San Francisco Division) (the “Bankruptcy Court”).
 4
            PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court will hold a hearing on
 5   April 24, 2019, at 9:30 a.m. (Pacific Time) (the “Omnibus Hearing”) in the courtroom of the
     Honorable Dennis Montali, United States Bankruptcy Judge, Courtroom 17, 16th Floor, 450 Golden
 6   Gate Avenue, San Francisco, California 94102.

 7          PLEASE TAKE FURTHER NOTICE that, in addition to any other matters scheduled for
     the Omnibus Hearing, the Bankruptcy Court is scheduled to hear the Application Pursuant to 11
 8   U.S.C. § 327(e) and Fed. R. Bankr. P. 2014(a) and 2016 for Order Authorizing the Debtors to Retain
     Jenner & Block LLP as Special Corporate Defense Counsel Nunc Pro Tunc to the Petition Date [Dkt
 9   No. 911] (the “Application”) filed by the Debtors on March 15, 2019.

10          PLEASE TAKE FURTHER NOTICE that any oppositions or responses to the Application
     must be in writing, filed with the Bankruptcy Court, and served on the counsel for the Debtors at the
11   above-referenced addresses so as to be received by no later than 4:00 p.m. (Pacific Time) on
     April 17, 2019. Any oppositions or responses must be filed and served on all “Standard Parties” as
12   defined in, and in accordance with, the Order Implementing Certain Notice and Case Management
     Procedures entered on March 6, 2019 [Dkt No. 759] (“Case Management Order”). Any relief
13   requested in the Application may be granted without a hearing if no opposition is timely filed
     and served in accordance with the Case Management Order. In deciding the Application, the
14   Court may consider any other document filed in these Chapter 11 Cases and related Adversary
     Proceedings.
15
             PLEASE TAKE FURTHER NOTICE that copies of the Application can be viewed and/or
16   obtained: (i) by accessing the Court’s website at http://www.canb.uscourts.gov, (ii) by contacting the
     Office of the Clerk of the Court at 450 Golden Gate Avenue, San Francisco, CA 94102, or (iii) from
17   the Debtors’ notice and claims agent, Prime Clerk LLC , at https://restructuring.primeclerk.com/pge
     or by calling (844) 339-4217 (toll free) for U.S.-based parties; or +1 (929) 333-8977 for International
18   parties or by e-mail at: pgeinfo@primeclerk.com. Note that a PACER password is needed to access
     documents on the Bankruptcy Court’s website.
19
     Dated: March 15, 2019
20                                           WEIL, GOTSHAL & MANGES LLP
                                             KELLER & BENVENUTTI LLP
21

22                                            /s/ Jane Kim
                                                          Jane Kim
23
                                              Proposed Attorneys for Debtors and Debtors in
24                                            Possession
25

26

27

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